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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,
                                                   Criminal No. 22-159 (WMW/TNL)
                    Plaintiff,

v.
                                                         ORDER STRIKING
Shamir Nathann Black,                                    MOTION HEARING

                    Defendant.



      Pursuant to the letter from counsel (ECF No. 23), the criminal motions hearing

scheduled for September 28, 2022 at 11:00 a.m., has been STRICKEN from this Court’s

calendar. The arraignment will take place at the plea hearing and be rescheduled to

occur before Judge Wright.



Dated: September 2, 2022                 s/Tony N. Leung
                                        TONY N. LEUNG
                                        United States Magistrate Judge
